                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:05cr390

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                  ORDER
                                         )
DEMETRIUS SHAWNDALE RUDISILL             )
________________________________________ )


       THIS MATTER is before the Court on Motion of the United States to consolidate Case

Number 1:05cr228 with Case Number 3:05cr390 for sentencing. (Doc. No. 124). The motion

recites that counsel for the defendant does not oppose the motion.

       The Court finds that the interests of justice will be served by imposing sentences on both

cases in the same proceeding.

       IT IS, THEREFORE, ORDERED that the Motion of the United States is GRANTED.

This Court will accept assignment of Case Number 1:05cr228 upon transfer from the Asheville

Division and impose sentence in that case in conjunction with Case Number 3:05cr390.

       The Clerk is directed to certify copies of this Order to defendant, defense counsel, U.S.

Probation Office, U.S. Marshal Service, and the U.S. Attorney.

                                                 Signed: February 24, 2006




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